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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

MATINA INOCENCIO,

     Plaintiff,

v.                                                CASE NO.    3:18-cv-72-J-25JBT


CAPITAL ONE BANK USA, N.A.,

     Defendant.

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                                         ORDER

      Pursuant to the parties’ Stipulation (Dkt. 22), it is

      ORDERED that this action is DISMISSED with prejudice.

      DONE AND ORDERED at Jacksonville, Florida this 19th day of December, 2018.




Copies to: Counsel of Record
